Case 1:05-cr-10044-.]DT Document 10 Filed 07/26/05 Page 1 of 2 Page|D 11

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wESTERN DISTRlCT oF TENNESSEE n "
Eastern Division ‘r:"i.‘- ._="lj,t §§ ppg ,__ f f

UNITED STATES OF AMERICA

-VS_

 

MICHAEL ROGERS

 

ORDER OF DETENT|ON PEND|NG TRIAL
F|ND|NGS
ln accordance with the Bail Reforin Act, 18 U.S.C. § 3142(1‘), a detention hearing has been
held. 'l`he following facts and circumstances require the defendant to be detained pending trial.

l\lo condition or combination of conditions of release will reasonably assure the
appearance of the defendant as required or the safety of any other person and the
community.

This conclusion is based on the findings and analysis ofthe matters enumerated in 18 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearing.

DlRECTlONS REGARD|NG DETENTION

MICHAEL ROGERS is committed to the custody ofthe Attorney Genera| or his designated representative
for confinement in a corrections facility separate, to the extent practicablc, from persons awaiting or serving sentences
or being held in custody pending appeal. MICHAEL ROGERS shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

para iuiy 26,2005 C§- p/Z_m)qo @_`

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Thts document entered on tho docket shoot tn compliance
with Flule 55 andfor 32(b) FBCrP on

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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 1:05-CR-10044 was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

 

 

J ames W. Powell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jaekson, TN 38301

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jaekson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

